Case 2:12-cr-20667-PDB-RSW ECF No. 101, PageID.280 Filed 03/19/13 Page 1 of 6
Case 2:12-cr-20667-PDB-RSW ECF No. 101, PageID.281 Filed 03/19/13 Page 2 of 6
Case 2:12-cr-20667-PDB-RSW ECF No. 101, PageID.282 Filed 03/19/13 Page 3 of 6
Case 2:12-cr-20667-PDB-RSW ECF No. 101, PageID.283 Filed 03/19/13 Page 4 of 6
Case 2:12-cr-20667-PDB-RSW ECF No. 101, PageID.284 Filed 03/19/13 Page 5 of 6
Case 2:12-cr-20667-PDB-RSW ECF No. 101, PageID.285 Filed 03/19/13 Page 6 of 6
